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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 20-cv-25220-BLOOM/Otazo-Reyes

 PEARL IP LICENSING LLC,

        Plaintiff,

 v.

 HMD AMERICA, INC.,

       Defendant.
 ________________________________/

                             ORDER SCHEDULING MEDIATION

        The mediation conference in this case shall be held on December 15, 2021, at 9:00 a.m.

 with Brian Gilchrist via videoconference. On or before December 20, 2021, the parties shall file

 a mediation report indicating whether all required parties were present. The report shall also

 indicate whether the case settled (in full or in part), the mediation was continued with the consent

 of the parties, or whether the mediator declared an impasse. The parties may not reschedule the

 mediation without leave of court.

        DONE AND ORDERED in Chambers at Miami, Florida, on June 4, 2021.




                                                         ____ ___ ________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record
